AO 24S8 (Rev. 09/17)    Judgment in a Criminal Case
                         Sheet I



                                              UNITED STATES DISTRICT COURT
                                                         Eastern District of North Carolina
                                                                              )
                UNITED STATES OF AMERICA                                      )       JUDGMENT IN A CRIMINAL CASE
                                    v.                                        )
                                                                              )
                        Jordan Dean Miller                                            Case Number: 5: l 9-CR-331-4B0
                                                                              )
                                                                              )       USM Number:
                                                                              )
                                                                              )          Benjamin J. Gray and Damon Chetson
                                                                              )       Defendant's Attorney
THE DEFENDANT:
liZI pleaded guilty to count(s)          ls
                                     -------'------------------------------+---
0 pleaded nolo contcndere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                     Nature of Offense                                                             Offense Ended

  18 U.S.C. §§ 1028(a)(4) and 2      Possession of a Document With the Intent to Use it to Defraud the United       September 11. 2018    ls
                                     States; and Aiding and Abetting.




       The defendant is sentenced as provided in pages 2 through             __6 _ _ of this judgment. The sentence is imposed pursua11t to
the Sentencing Rcfom1 Act of 1984.

D The defendant has been found not guilty on eount(s)

liZI Count(s)    Original Indictment                       ~ is       Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, re idencc,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment arc fully paid. If ordered to pay res itution,
the defenoant must notify the court and United States attorney of material changes in economic circumstances.

                                                                              5/8/2020
                                                                             Date of Imposition of Judgment


                                                                                  ~          A    ,,   ~~   ~,,   ,(J :: -;,;- V
                                                                             Signature of Judge                           V

                                                                              Terrence W. Boyle. Chief US District Judge
                                                                             Name and Title of Judge


                                                                              5/8/2020
                                                                             Date




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AO 245B (Rev. 09/17) Judgment in a Criminal Case
                     Sheet 4---Probation
                                                                                                    Judgment-Page __2__ of
DEFENDANT: Jordan Dean Miller
CASE NUMBER: 5:19-CR-331-4BO
                                                           PROBATION

You are hereby sentenced to probation for a term of:
     Count ls - 1 years'.




                                                   MANDATORY CONDITIONS
1.  You must not commit another federal, state or local crime.
2.  You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of place ent on
    probation and at least two periodic drug tests thereafter, as determined by the court.
            D The above drug testing condition is suspended, based on the court's determination that you pose a low risk offuturl
                substance abuse. (check if applicable)
4.   el You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
5.   D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
          as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
          where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6.   D You must participate in an approved program for domestic violence. (check if applicable)
7.   D You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (checkifap licable)
8. You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
9.  If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
10. You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitu ion,
    fines, or special assessments.


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the att ched
page.




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     AO 245B (Rev. 09/17) Judgment in a Criminal Case
                          Sheet 4A- Probation
                                                                                                    Judgment-Page   ---=3__      of --~I_6___

DEFENDANT: Jordan Dean Miller
CASE NUMBER: 5:19-CR-331-4BO

                                          STANDARD CONDITIONS OF SUPERVISION
As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed ecause
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation dfficers
to keep informed, report to the court about, and bring about improvements in your conduct and condition.                         I

1.      You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of tl}e time
        you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different tinr,e frame.
2.      After initially reporting to the probation office, you will receive instructions from the court or the probation officer about ho!and
        when you must report to the probation officer, and you must report to the probation officer as instructed.
3.      You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
        court or the probation officer.
4.      You must answer truthfully the questions asked by your probation officer.
5.      You must live at a place approved by the probation officer. If you plan to change where you live or anything about your livin
        arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
        the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer witllin 72
        hours of becoming aware of a change or expected change.                                                                            I
6.      You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation olfficer to
        take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.      You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
        doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer e cuses
        you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
        responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
        days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
        becoming aware of a change or expected change.
8.      You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has be .n
        convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission f the
        probation officer.
9.      If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.     You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
        designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or asers).
11.     You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant ithout
        first getting the permission of the court.
12.     If the probation officer determines that you pose a risk to another person (including an organization), the probation officer m y
        require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact he
        person and confirm that you have notified the person about the risk.
13.     You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only·
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy ofthi
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                        Date




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AO 245B (Rev. 09/17) Judgment in a Criminal Case
                     Sheet 4C - Probation
                                                                                                                               4_ of
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DEFENDANT: Jordan Dean Miller
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                          ADDITIONAL STANDARD CONDITIONS OF SUPERVISION
The defendant shall not incur new credit charges or open additional lines of credit without approval of the probation office.
The defendant shall provide the probation office. with access to any requested financial information.

 The defendant shall consent to a warrantless search by a United States Probation Officer or, at the request of the probation officer, any other !al
 enforcement officer, of the defendant's person and premises, including any vehicle, to determine compliance with the conditions of this judgmlnt.

 The defendant shall support the defendant's dependent( s) and meet other family responsibilities.

 The defendant shall perform 50 hours of community service as directed by the probation office and if referred for placement and monitoring b the
 State of North Carolina, pay the required $200.00 fee.




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AO 245B (Rev. 09/17)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                         Judgment -   Page   ---'5"---   of     I 6
 DEFENDANT: Jordan Dean Miller
 CASE NUMBER: 5:19-CR-331-4BO
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment                   JVTA Assessment*                Fine                        Restitution
 TOTALS            $ 25.00                       $                               $ 500.00                    $



 D    The determination of restitution is deferred until
                                                         ----
                                                              . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned _payment, unless specified o herwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims m st be paid
      before the United States is paid.                                                                                                        l
 Name of Payee                                                        Total Loss**            Restitution Ordered              Priori     or Per enta e




 TOTALS                               $ _______0._00_                          s_______o_._oo_

 D     Restitution amount ordered pursuant to plea agreement $

 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full befi re the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may bes bject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D    the interest requirement is waived for the           D fine    D restitution.
       D    the interest requirement for the         D    fine    D    restitution is modified as follows:

 * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 ** Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses commi                 ed on or
 after September 13, 1994, but before April 23, 1996.


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AO 245B (Rev. 09/17) Judgment in a Criminal Case
                     Sheet 6 - Schedule of Payments·

                                                                                                                         6_ of
                                                                                                         Judgment-Page _ _                        6
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                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     D Lump sum payment of$                                 due immediately, balance due

             D    not later than                                 , or
             D    in accordance with D C,          D D,      D E,or         D F below; or
B     D Payment to begin immediately (may be combined with               DC,         D D, or      D F below); or

C     D Payment in equal         _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ _ _ _ _ over a period of
                          (e.g., months or years), to commence_ _ _ _ (e.g., 30 or 60 day~) after the date of this judgment; or d

D     D Payment in equal           _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ _ _ _ _ over a perio of
                           (e.g., months or years), to commence _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to ~
             term of supervision; or

E     D Payment during the term of supervised release will commence within        _ _ _ _ _ (e.g., 30 or 60 days) after release fr, m
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     liZ)   Special instructions regarding the payment of criminal monetary penalties:

             Payment of the special assessment and fine shall be due immediately.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is d e during
                                                                                                                                          1
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prison Inmate           '

Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amo , t,
      and corresponding payee, if appropriate.




D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

D     The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) NTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs



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